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Quotation: D&S 2-08 Intera Pulsar 1.5 Version: 1

Condado X-Ray and Ultrasound
Caguas, Puerto Rico

PUERTO RICO

Reference: Date: 28 April, 2008

 

This offer is subject to obtaining any of the requisite approvals or permissions under any of the applicable
export control regulations and unless otherwise agreed in writing, the attached conditions of the sale apply.

 

 

 

Quotation

Dear Sir,

Philips Medical Systems is pleased to submit the following quotation, consisting of 36 pages, and offers to
sell the products described herein at the prices and terms stated, subject to your acceptance of the terms and

conditions on the face and reverse hereof and the agreement between Philips Medical Systems and the
Customer.

This quotation is valid for sixty (60) days from the date of issue.

 

CUSTOMER ACCEPTANCE, AS PHILIPS MEDICAL SYSTEMS
QUOTED:

THIS QUOTATION IS SUBJECT TO ALL
PROVISIONS AND CONDITIONS ON THE REVERSE

 

 

 

 

 

 

 

 

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Date OTL! De Dag Title Key Account Manager

Philips Medical Systems Netherlands B.V.
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Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1
0 Chapter Magnetic Resonance System
1.0 Chapter: Magnetic Resonance System - Configuration: Intera Pulsar 1.5T
Qty Description Code number USD
1 SP INTERA PULSAR 8 R2.5 NMRA827
Pulsar gradient system

Intera offers the new Pulsar gradient system, which enables the performance for today's
demanding clinical applications. In combination with FreeWave, Pulsar delivers
exceptional sequence performance in terms of minimum TE/TR. Performance is
achieved over the entire 53 cm FOV with an excellent linearity. The gradient system
minimizes eddy currents and acoustic noise.

@ Maximum FOV is 53 cm

e Peak amplitude 33 mT/m, slew rate 80 mT/m/ms. All specifications are on axis (x,
y and 2).

¢ Linearity of 1.4% over the entire 53 cm FOV with distortion correction.

© — State-of-the-art water-cooled gradient amplifier technology combined with a non-

resonant coil design, allows flexible generation of any type of gradient waveform
100 % duty cycle.

¢ SofTone reduces gradient acoustic noise by up to 30 dB (an 86 % reduction in
patient-perceived acoustic noise). ,

FreeWave digital RF system

Intera |.5T is now powered by Philips’ FreeWave, the first entirely direct digital
broadband spectrometer. With a scaleable architecture, outstanding SNR performance
and 1MHz bandwidth per RF channel, FreeWave is prepared perform advanced clinical
techniques today, and expand for tomorrow.

RF Receive:

e 8 RF channels standard

¢ Direct Digital Sampling at 80 MHz per channel with no analog demodulation.
e 1MHz Bandwidth per channel.

¢ Simultaneous connection of multiple coils (total of 16 quadrature coil elements).

 

e Modular expandable architecture

 

 

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1
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RF Transmit:

* 18kW Solid-state RF power amplifier that affords the energy necessary to image
even the large patient.

e RF Smart technology enables SAR to be effectively managed through balanced

system design combined with the application of Philips imaging techniques such as
SENSE, SPAIR and Flip Angle Sweep.

Real Time Control:

¢ —Sub-millisecond TR's and ultra-short TE's provide improved image quality and
reduced examination times.

e Real-time imaging control for clinical motion correction, including SnapShot and
optional navigator-corrections required for free-breathing cardiac techniques and
high-resolution diffusion (i.e. PhaseTrak) with profile updates within | ms.

© Real-time control of RF transmission, gradient switching, data acquisition and
triggering.

Standard RF coils:

© Quadrature Transmit/Receive Body coil
© Quadrature Head coil
e 17cm circular Flex coil

MR WorkSpace

The MR WorkSpace is a unique configurable solution to MR workflow targeted at
resolving the management of the increasing volume of MR patients and patient data.
The MR WorkSpace includes the MR operator's console plus one or more optional

Extended MR WorkSpace workstations that are functionally identical to the operator's
console.

The MR WorkSpace can incorporate optional, advanced MR processing and reporting
capabilities. The result is a seamless working environment that can conform to the needs
of any MR department - boosting its efficiency and productivity while also avoiding the
expense of dedicated workstations.

MR operator console:

ExamCards

 

 

ExamCards, a cornerstone of the MR operator console, are complete, pre-set imaging

 

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protocols that can be automatically executed with push-button ease. ExamCards contain
a structured multi-sequence examination, along with automated post-processing to
automatically execute entire patient studies. ExamCards involve minimal user
interaction, shorten overall exam time, reduce training requirements, and improve
reproducibility of examinations. Users have full freedom to customize ExamCards.
NetForum Community allows Philips users to download best-practice ExamCards
created by experts worldwide. NetForum Community unites Philips users with Philips
and with one another via Internet access to a secure Philips website directly from the
MR operator console or from any PC. NetForum also provides access to the latest
training seminars, instructions for use and applications tips and guides.

e Single mouse-click scanner operation.

e¢ Automated scanning.

¢ Automated post processing.

¢ Complete patient studies may be defined and stored, including comprehensive user
tips.

¢ GeoLinks enable scan geometries to be defined and automatically copied between
sequences.

* Sequences and patient location (multi-station studies) may be arbitrarily ordered for
optimum acquisition, and data is automatically sorted and viewed correctly.

¢ Downloadable from NetForum or copied from system to system.

Viewing, processing and filming

MR Workspace supports fast and flexible viewing, processing and film generation at
each workspot.

¢ Window width/level, zoom, pan, rotate, mirror.
e Image annotation (text, arrows and lines).
¢ Image arithmetic (including addition, subtraction, division and multiplication).

¢ [mage measurement (including distance and angle, profile or histogram display and
X-Y coordinate calculation).

e Regions of Interest (ROI) statistics (area, volume, mean and standard deviation)
from user defined (square, rectangular, circular, elliptical or irregular) shapes.

e Time Intensity analysis of dynamics/phases.
© Volume calculation from contours drawn in adjacent slices.

¢ Simultaneous visualization of up to four independent series for comparison.

 

 

 

e Cine movie display of up to 24 slices or dynamics/phases

 

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Qty

Description Code number

 

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e PicturePlus for user-defined reduction of noise over images in combination with
edge enhancement.

¢ Real-time MIP, MPR and 3D surface rendering (User defined volumes of interest
enable elimination of unwanted signals regions).

e Rapid, single mouse click film generation of image series using a range of
predefined formats.

« "Pick & place" functionality enables the creation of films containing random image
selections.

¢ Images and movie can be exported to Windows PC formats.

Connectivity / Interoperability

The MR Workspace fits seamlessly into local network environments. Communication is
via DICOM protocols. The system can be configured for safe storage of MR images and
other patient data in departmental information systems and PACS. The MR WorkSpace
conforms to the new Enhanced (multi-frame) MR DICOM standard, which improves
the performance of data transfer of large data sets and fully supports information
associated with Diffusion and Spectroscopy.

The system can be configured (per node) to support standard DICOM MR image
transfer or DICOM Enhanced MR Image Transfer. If a receiving node does not support
DICOM Enhanced MR, standard DICOM MR Images will be transferred.

e DICOM Workflow Management:

0 DICOM Modality Worklist
0 DICOM Modality Performed Procedure Steps
o DICOM Storage Commitment

e DICOM Send/Receive:

o DICOM Enhanced MR:

o Export / Import of DICOM Enhanced MR Images
o Export / Import of DICOM MR Spectroscopy
o Export / {mport of DICOM Raw

o DICOM MR:

o Export / Import of DICOM MR Images

 

 

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Qty Description Code number USD

 

 

o Export / Import of Philips Private MR Series Data
o Export / Import of Philips Private MR Spectrum Data

e DICOM Query / Retrieve of Philips MR data, all the exported image types
© DICOM Print

o Grayscale Softcopy Presentation State with preset window settings as on the
console

o Basic Grayscale Print
e DICOM Media

© MR Studies on DVD (Read / Write)
o MR Studies on MOD (Read) (optional)
e —_IHE Integration Profiles

0 Scheduled Workflow

o Patient Information Reconciliation
o Consistent Presentation of Images
0 Basic Security

Full information on compliance with DICOM standards and available functionality is
contained in Philips’ DICOM Conformance Statement.

Computer System:

Intera 1.5T system's distributed computing architecture is based on the latest computer
and operating system technology. With separate processors for scanning, image
reconstruction, viewing and processing, the architecture provides true real-time
performance with reconstruction speeds exceeding 1200 images per second.

e 23-inch LCD wide-screen format monitor

e 2.0 GHz Dual Core Intel Xeon processors

e Windows XP OS 64 bits

©  6GB internal memory

© 72 GB system disk

*® 36 GB main image database disk

e 80 GB additional data storage disk

 

 

 

 

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e¢ DVD + RW for image storage
e DVD for software loading
¢ 10BaseT, 100BaseT or 1000BaseT connections.

° Fast reconstruction of demanding imaging techniques (interactive real-time,
SENSE, high resolution and high coil channel count).

¢ More than 1200 images per second (256 x 256 reconstructions)
© 3.2 GHz dual core processor reconstruction
e 8 GB reconstruction memory

 

1 Magnet Intera 1.5T NMRA349

 

 

 

System Overview

Intera is designed to meet the demanding criteria of today's progressive imaging centers:
New levels of software automation plus a new workspace environment improve
operational efficiency and workflow. The latest computing and hardware components
ensure cutting edge acquisition speed, resolution and signal to noise. Interas ScanTools
Packages expand the range of leading clinical procedures available. Intera delivers it all
packaged in an environment to optimizing patient satisfaction. Altogether Intera is a
powerful system that offers performance for today and expansion tomorrow.

The Intera 1.5T scanner comprises:

e Patient environment

® 1.5T magnet

¢ High Performance gradient system
e  FreeWave RF system

@ MR WorkSpace

e ScanTools

Patient environment

Intera is specifically designed to enhance patient comfort and throughput by virtue of a
spacious patient aperture that effectively eliminates claustrophobic effects and affords
excellent patient access, provided by a combination of the shortest straight bore length
in the industry and widely flaring bore. Intera system's ultra-compact, patient-friendly
environment also affords un-compromised large and offset FOV imaging. The High
SNR body coil permits large FOV imaging without surface coils, reducing set-up time

 

 

 

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Qty

Description Code number

 

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and facilitating easy run-off studies.

Key features include:
Aperture:

Bore diameter: 60 cm (23.6 in.)
Straight bore length: 60 cm
Bore flare: 110 cm (43 in.) on both the front and rear of the magnet, enabling equal

access to the patient. Additionally, start/stop controls on both ends of the magnet
increase operating flexibility.

Patient Support:

Patient support enables patients weighing up to 250 kg (550 Ibs) to be comfortably
positioned.

Patient table height can be lowered to 52 cm (20.4 in.), providing easy access for
compromised or non-ambulatory patients.

Detachable tabletop can be combined with optional trolley for efficient patient
management and rapid evacuation.

Horizontal travel of 215 cm (7.05 ft) with (1.0 mm (0.04 inch) accuracy

Table speeds of 20 mm/s to 180 mm/s enable fast, easy patient positioning and
rapid multi-station examinations.

Patient Accessories:

Adjustable fresh air supply and variable lighting

In-bore microphone and ceiling-mounted loudspeakers support two-way patient-
operator communication and music.

Hand-held technologist call button.
Soft mattress with a headrest, knee support and positioning wedges.

Patient headset with built-in two-way communication reduces acoustic noise by up
to 25 dB.

1.5T magnet

The magnet system of Intera 1.5T offers high intrinsic homogeneity - typically higher
than 0.5 ppm- enabling superb fat suppression via techniques such as SPIR and SPAIR.
In addition, Intera 1.ST system's high homogeneity allows rapid per-patient dynamic
shimming for excellent image quality over the entire 53 cm (20.9 in.) field-of-view. The

 

 

 

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ability to employ large FOVs facilitates run-off studies using as few as three stations,
and enables single-acquisition MRA studies encompassing the circle-of-Willis down to
the aortic arch. The Intera 1.5T system's excellent homogeneity also affords easy
imaging of off-center anatomy.

¢ Typical homogeneity of 0.5 ppm VMRS over a 50 cm DSV.

* Superconducting screening coils reduce magnetic field susceptibility caused by
moving ferrous objects.

¢ Lightweight 2900 kg (6393 Ibs.) design and compact fringe field footprint of 3.8 m
x 2.4m (12.5 ft x 7.9 ft) facilitate easy siting.

e Typical helium consumption (as low as 0.03 I/hr) extends time between cryogen
refills.

 

1 Pre-Installation Parts Intera Achieva 1.5T NMRAS590

 

 

Building contractors are provided with key siting preparation parts in advance,
minimizing installation time.

 

1 SCANTOOLS PLUS R2.5 NMRA844

 

 

 

ScanTools Plus provides dedicated packages of optimized examinations for virtually all
clinical applications and body regions including:

e = =©Neuro Plus

e Ortho Plus
¢  Angio Pius
¢ Body Plus

e = Breast Plus

* Onco Plus

e Cardiac Plus
e Pediatric Plus

Each Plus package consists of application-specific ExamCards, imaging sequences, and
acquisition and reconstruction methods that exploit the power of FreeWave, along with
the necessary specialized image processing and viewing tools for the MR WorkSpace.

Key features of ScanTools Plus:

 

 

 

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SAMESCAN:

SameScan enables fast, easy and precise follow-up in brain studies. Through
identification of key anatomical landmarks, SameScan allows the exact scanning

parameters, slice positioning and geometry of a patient's previous study to be acquired
in subsequent examinations.

EXAMCARD PROCESSING

ExamCard Processing streamlines clinical workflow by fully automating data
processing for a number of routine clinical applications. Processing takes place in the
background immediately following completion of the acquisition. Includes:

e Diffusion Maps (ADC, eADC and Trace)

e Image Algebra (Addition, Subtraction, Division, Multiply)
© Magnetization Transfer Coefficient

e  PicturePlus

ExamCards definitions can to be saved to the database along with the acquired images.

MOBIVIEW:

Enables automatic, single mouse-click composition of data sets from multi-station
acquisitions into full FOV images. Applications include Runoff MRA, Complete CNS
and Complete Torso. Composite images may be displayed, stored, filmed and exported
via DICOM and PC-compatible formats. These images are compatible with viewing,
measurement and processing tools, including MIP, MPR and 3D surface rendering.
MIPs may be performed around an axis defined in any of the individual data sets.

SENSE:

Provides true acceleration in image acquisition with SENSE-compatible coils up to a 4-
fold (3D acquisition) acceleration in acquisition speed, independent of resolution and
matrix size. SENSE is compatible with the vast majority of imaging techniques
including diffusion, in which SENSE reduces the echo train length to increase SNR and

reduce susceptibility effects, and dynamic techniques such as TRACS, THRIVE and
BLISS.

THRIVE:

THRIVE combines the speed of SENSE to enable isotropic high-resolution T1-
weighted images with extensive volumetric coverage and uniform fat suppression, in
short breath-hold times and in any imaging plane. THRIVE is ideal for dynamic liver,
small bowel, breast, prostate and pancreas imaging. THRIVE images are excellent for
MIP and MPR.

 

 

 

 

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BLISS:

 

BLISS is a multi-volume imaging technique that enables the collection of two
bilaterally placed volumes within a single acquisition. Localized shimming is performed
for each volume for optimal fat suppression. BLISS is ideal for high-resolution sagittal
breast studies, and uses SENSE for rapid scan times.

VISTA:

VISTA provides high-resolution volumetric T2 weighted images acquired with a TSE
acquisition. Acquisition time and inter-echo spacing are optimized through the
applications of flip angle sweep in combination with non-selective refocusing pulses.

[mages are ideally suited to imaging of the spine, creating multiple orientations through
MPR processing.

SNAPSHOT:

Snapshot imaging eliminates the effects of patient and physiological motion through the
combination rapid TSE sequences with the acceleration of SENSE. Individual Snapshot
images can be acquired in any orientation in approximately 250ms to 300ms.
Asymmetric TSE makes Snapshot compatible with T1-, T2- and diffusion-weighted

imaging.
MultiVane

MultiVane delivers high resolution diagnostic images even in the case of severe patient
motion. MultiVane provides motion correction to multi-shot TSE (TI, T2, [R-real,
FLAIR) and gradient-echo examinations through the use of radial encoding and
selective usage of acquired data lines based on motion criteria. MultiVane can be used
in brain examinations of the brain, in addition to other anatomical areas.

DIFFUSION

Single-shot EPI diffusion-weighted (DWI) sequences permit motion-free imaging,
enabling visualization of isotropic DWI images - with three diffusion directions and up
to 16 b-values per scan - and automated creation of Apparent Diffusion Coefficient
(ADC) maps.

SPAIR:

A high uniformity fat saturation method making use of adiabatic spectral saturation
pulses, ensures insensitivity to RF field inhomogeneities and lowers SAR. SPAIR is
ideal for offset and difficult to suppress regions such as liver, shoulders, pelvis and hips.

BOLUSTRAK:

Enables accurate synchronization of high-resolution CE-MRA acquisitions. BolusTrak
uses a real-time fluoroscopic display of bolus arrival in the area of interest and manual

 

 

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start of the target acquisition. BolusTrak in combination with CENTRA minimizes
venous contamination and produces optimal arterial vessel contrast and resolution.

TRACS:

 

 

TRACS enables accelerated time-resolved contrast-enhanced vascular imaging. TRACS

uses SENSE for image acceleration and CENTRA phase-encode ordering for optimized
contrast.

PROSET WATS and FATS:

Combines the characteristics of the high-resolution volume acquisitions with ProSet
water or fat only selection. Applications include T1-weighted Body and Spine Nerve
Root Visualization and Cartilage imaging and MR arthrography in orthopedics.

ASYMMETRIC TSE:

Extended contrast control for TSE acquisitions through optimized mapping of

individual echoes into the image. Applications include proton density weighted imaging
of joints with higher spatial resolution or faster scan times.

m-FFE
m-FFE provides unique image contrast - ranging from 2D or 3D gradient-echo

sequences to the combination of echoes. m-FFE is very useful for neuro and
musculoskeletal applications.

REFOCUS CONTROL:

Uses sophisticated flip angle sweep control in TSE acquisitions to optimize contrast-to-
noise and scan time, while at the same time controlling SAR levels.

DRIVE:

Enables shorter TRs while maintaining contrast-to-noise and SNR for T2-weighted 2D
and 3D TSE acquisitions, resulting in shorter scan times and increased resolution.

3D TFE:

Combines the acceleration of SENSE with the high T1 contrast of inversion-prepared
TFE acquisition. 3D TFE enables isotropic coverage of the entire head in scan times
under 2 minutes, using acceleration factors of up to 4 (2*2). A single data set can be
reformatted into alternate planes both pre- and post-contrast, eliminating the need for
additional scans.

BLACKBLOOD:

 

 

 

Features pre-pulses to achieve suppression of the blood signal for optimum myocardial

 

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Qty Description Code number UusD
and lumen visualization in cardiac and vascular imaging.
CLEAR:

CLEAR provides a unique signal uniformity correction based on coil-sensitivity and on
patient loading. CLEAR improves image uniformity, reduces bright fat signal at the
surface of coils, and extends the effective coverage of phased array coils.

PICTUREPLUS:

PicturePlus is an image enhancement tool that can improve the appearance of images
through edge enhancement and smoothing. The operator has control over enhancement

parameters, which can be applied automatically post-acquisition or as a post-processing
option.

T2* PERFUSION:

Dynamic multi-slice T2*-weighted sequences based on single- or multi-shot FFE or
FFE EPI methods.

EPI BOLD:

EPI BOLD provides dynamic multi-slice T2*-weighted sequences based on single- or
multi-shot FFE and SE EPI methods.

VENOUS BOLD:

Provides T2*-weighted 3D sequences compatible SENSE, allowing high-resolution
acquisitions in short scan times. These sequences are useful for evaluating various brain
anomalies associated with blood.

VCG Gating:

VectorCardioGram Gating is a more robust method than regular ECG gating, providing
virtually 100 % triggering accuracy. VCG greatly reduces operator setup time and thus
overall exam time, even for patients with pathologic ECG patterns. This method
provides automatic adjustment to the electrical axis of the patient's heart and to the
specific multi-dimensional QRS waveform. Includes a four-lead cable set.

FLOW:

Phase contrast (PC) sensitive imaging enables depiction of moving fluid without any
background signal that is sensitized in all three directions with variable VENC values.
Retrospectively gated 2D multi-phase acquisitions permit evaluation of blood or CSF
flow. Retrospectively gated TFE PC enables quantitative measurements in one breath
hold. Quantitative flow allows non-invasive measurements of blood flow or CSF flow
in three directions.

 

 

 

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B-FFE/TFE:

 

Ultra-fast steady-state 2D and 3D imaging techniques are insensitive to fluid motion,
thereby producing exceptional contrast between bright fluids and surrounding tissue.
These techniques provide optimal myocardium-to-blood contrast for (functional)
cardiac studies. High-resolution isotropic data sets are ideal for MIP and MPR

processing to visualize the inner ear, and to produce myelograms in addition to non-
contrast enhanced angiograms.

Clinical Packages:

Neuro Plus

The Neuro Plus package provides High-quality, high-resolution neuro imaging results,
which allows for the assessment of morphology in the brain and spine.

Features include:

e ExamCards for head and spine imaging

e SENSE imaging for all Philips SENSE coils allowing faster scan times or improved
susceptibility suppression.

¢ High-resolution acquisitions on the order of 1024 acquisition and reconstruction
e Large FoV for Spine studies

© MobiTrak compatible with all sequences to allow for improved Total Spine

imaging to be visualized in the MobiView package for seamless single mouse-click
Total-spine evaluation.

e Sequences include SE, FFE and EPI based methods
© Fat suppression provided by STIR, SPIR, ProSet and SPAIR methods

¢ 3D based sequences for TSE including DRIVE for improved fluid visualization
(IAC)

¢ Balanced FFE/TFE for high-resolution high contrast (IAC and Spine applications).

¢ Single, Dual and Triple IR sequences for evaluation of gray and white matter
differentiation

e VISTA: Isotropic 3D TSE allows volumetric acquisitions that can be reconstructed
in any plane (e.g. Brain and Lumbar spine)

© 3D TI-TFE sequences allow volumetric acquisition and reconstruction of the
original dataset in any orientation (e.g., Brain gray/white matter differentiation).
Can be applied with both full and partial integer SENSE factors in either primary or
slice direction to reduce scan times.

e _ FLAIR for CSF suppression (TSE and EPI based)

 

 

 

- 15/36 -

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1

 

Qty Description Code number USD

 

 

¢ Multiple radial projection myelography as well as 2D and 3D sequences.
¢  ProSet water and fat excitation for nerve root imaging
e Snapshot imaging for uncooperative patients

¢- Multi-Vane to correct motion for multi-écho TSE and gradient echo examinations
using radial encoding

¢ Multi-slice, multi-echo TSE with up to 32 echoes per slice

e Flip Angle Sweep TSE for reduction of SAR and decrease of MT effects improving
gray/white matter contrast in both T2 and FLAIR acquisitions

¢ DWI based methods include single-shot with automated processing of the ADC
maps (for both brain and spine DW1)

¢ 12* based sequences for Perfusion and fMRI sequences including FFE-EPI, SE-
EPI

e T2* perfusion curve analysis

Body Plus

Body Plus enables fast high-resolution scan methods for Torso imaging.

Features include:

e ExamCards for chest, abdomen and pelvis imaging
¢ Sequences for both 2D and 3D acquisitions

e Triggered, Multishot BH and free breathing ultra-short TSE sequences are available

¢ All sequences compatible with SENSE for reduced breath-hold time and CLEAR
homogeneity correction for fast high-quality body imaging.

e In and out of phase breathhold FFE and TFE. TFE for fast T1- weighted imaging
(using inversion and saturation pre-pulses) can also be combined with free
breathing snapshot imaging.

e¢ THRIVE compatible with either SPIR or SPAIR fat suppression, allow for choice
between high-resolution and or improved isotropic acquisitions in a single

breathhold (can be used for dynamic high-spatial and temporal resolution imaging
for Liver and Colonography) ,

¢ Keyhole imaging for high temporal dynamic studies.

¢ —Proset with 3D volume acquisition Tl weighted scans(useful for pancreas and liver
breath-hold imaging)

e MRCP/U sequences acquired by SSH, radial SSH and 3D acquisitions allows for
high-resolution imaging with or without triggering or Breath hold imaging

 

 

 

 

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Qty Description Code number

 

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MultiEcho T2 measurements (up to 32 echoes) for T2mapping.
Free-breathing non-contrast enhanced portal vein imaging with B-TFE

High-resolution pelvic imaging with short exam times afforded by SENSE and
excellent fat-suppression supplied by SPAIR adjustable fat-suppression technique.

VISTA: Isotropic 3D TSE allows volumetric acquisitions that can be reconstructed
in any plane (pelvis)

TI perfusion curve analysis

Breast Plus

Breast Plus enables both high-spatial and/or temporal resolution. Efficient breast
imaging via the use of ExamCards BreastPlus offers sequences for both 2D and 3D
aequisitions and include:

ExamCards for breast imaging

THRIVE and BLISS, which are compatible with either SPIR or SPAIR fat
suppression,

High-resolution Tl and T2 TSE sequences compatible with SENSE for fast high-
resolution scanning and CLEAR homogeneity correction.

Silicone only sequences optimized for breast implants are also provided.

Ortho Plus

Ortho Plus provides both high-resolution and fast orthopedic imaging supporting
assessment of morphology in the spine and extremities.

Features include:

ExamCards designed for orthopedic imaging
Sequences include both 2D and 3D methods with volumetric acquisitions.

SE, TSE, FFE sequences, with fat-suppression provided by STIR, ProSet, SPIR and
adjustable fat-suppressed method of SPAIR. Can be combined with up to 1024
acquisition resolution for improved detection in orthopedic imaging

SENSE imaging for all Philips SENSE coils allowing faster scan times and CLEAR
homogeneity correction.

DRIVE combined with TSE allows for increased sensitivity to fluids
Balanced FFE for high-inplane and throughplane evaluation of joint diseases.
Turbo-STIR for fat-suppressed evaluation of bone bruises.

TSE sequence with asymmetric profile ordering lets users select TE in a fixed shot

 

 

 

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Qty Description Code number

 

USD

 

 

length, enabling high-resolution imaging in short scan times. Particularly useful in
PDW sequences.

m-FEE combining echos for all 2D and 3D gradient echo sequences.

3D FFE with ProSet for water only selective sequences. Optimizes cartilage and/or
fluid imaging with high-resolution in all directions.

THRIVE for 3D high-resolution fat-suppressed imaging for MR arthrograms

MobiTrak compatible with all sequences to allow for improved Total Spine

imaging to be visualized in the MobiView package for seamless single mouse-click
Total-spine evaluation.

Dynamic imaging sequences for TMJ applications in combination with specific
coils allows high-resolution fast imaging scans

Improved susceptibility reduction sequences implemented to include SENSE,
modifications of water-fat shift and manipulable bandwidth for improved imaging
in the presence of prosthesis.

Cardiac Plus

Cardiac Plus provides high-quality cardiac imaging supporting assessment of cardiac
morphology, and functional studies of the heart and surrounding vessels..

Features include:

ExamCards designed for cardiac imaging

VectorCardioGram (VCG) for near-100% triggering accuracy, even for patients
with pathologic ECG patterns. Provides automatic adjustment to the actual
electrical axis of the patient's heart and to the specific multi-dimensional QRS
waveform. Includes a four-lead cable set and Philips’ patented vector processing
algorithm. High R-peak detection rate results in shorter scan times.

Black Blood Imaging for optimal myocardial imaging

2D/3D Balanced FFE provides optimal myocardium-to-blood contrast for
(functional) cardiac studies.

All sequences are compatible with cardiac triggering, with SENSE and CLEAR
homogeneity correction.

Single Slice - Multi Phase for functional cardiac studies

Arrhythmia Pro arrhythmia rejection technique. Performs retrospective gating with

real-time prospective updating, then rejects and reacquires atopic heart beats in real
time for full R-to-R coverage.

Infill enhances the cine viewing of cardiac studies by reconstructing additional
intermediate frames. Used in conjunction with full R-to-R imaging.

 

 

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: |
Qty Description Code number USD
Angio Plus

For high-quality fast and high-resolution imaging for both non-contrast and contrast
vascular exams. Angio Plus features routine procedures built in ExamCards for vascular
imaging.

Features include:

¢ ExamCards designed for angio imaging

¢ 2D and 3D sequences for Inflow techniques Contrast Enhanced and Phase Contrast
Angiography sequences.

e SENSE imaging for all Philips SENSE coils allowing for increased temporal
resolution or higher resolution scanning in standard scan times.

¢ Inflow sequences can be combined with CHARM for uniform signal intensity over

large 3D volume acquisitions, TONE for improved contrast and MTC for reduction
of fat Signal (peri-orbital fat)

¢ Inflow and PCA sequences can be combined with ECG and/or VCG triggering for
optimal image quality in anatomies with pulsatile flow (popliteal or areas where
retrograde flow is an issue).

e 2D/3D Balanced TFE/FFE for fast, high-resolution non-contrast enhanced vascular
imaging.

¢ Quantitative blood and CSF flow sequences utilizing retrospective triggering PCA.

e MultiVenc PCA sequences

© Quantitative flow allows non-invasive measurements of blood flow or CSF flow in
three directions

e BolusTrak for accurate triggering of bolus arrival in contrast enhanced exams

¢ 3D high-resolution contrast enhanced imaging with CENTRA to allow increased
spatial resolution without venous contamination (e.g., in high resolution CE Arch
studies and lower leg station of peripheral run-off studies), CENTRA can also be
combined with SENSE for improved arterial vessel delineation in dynamic scans.

¢ Keyhole imaging to improve temporal resolution in dynamic studies.

¢ TRACS to accelerate time-resolved contrast-enhanced vascular imaging with a
factor 4.

¢ MobiTrak feature in combination with multi-station compatible coils to allow for
peripheral run-off studies, can be combined with the use of single mouse click
multi-station viewing (MobiView) for display.

 

 

 

 

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1
Qty Description Code number USD
Onco Plus

 

OncoPlus provides high-quality assessment in all anatomical areas for better lesion
visualization.

Features include:

ExamCards designed for oncology imaging

High gradient linearity allows for improved therapy planning and accurate QBC
imaging results

All Philips phased array coils compatible with CLEAR, SENSE for improved
image quality and faster scan times

Large Field-of-View allows for improved screening

ExamCards for single- “pass multi-station imaging with user-defined contrasts per
station, supporting easier characterization of lesions.

1024 scan resolution for improved small lesion detection

2D and 3D sequences including STIR, IN/OUT of phase imaging, THRIVE and
dynamic imaging sequences

Dynamic scan techniques for monitoring and evaluation allow for contrast uptake
kinetic viewing

Pediatric Plus

Pediatric Plus provides fast, patient-friendly imaging of pediatric patients.

Features include:

ExamCards for pediatric imaging

SofTone ensures very fast imaging combined with noise reduction techniques
dramatically reducing acoustic noise.

SENSE imaging for all Philips SENSE coils allowing faster scan times or improved
susceptibility suppression.

Sequences include SE, FFE and EPI based methods
Fat suppression provided by STIR, SPIR, ProSet and SPAIR methods

3D based sequences for TSE including DRIVE for improved fluid visualization
(IAC)

Balanced FFE/TFE for high-resolution high contrast (Fetal, [AC and Spine
applications)

Single, Dual and Triple IR sequences for evaluation of gray and white matter

 

 

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1

 

Qty Description Code number USD
differentiation

 

 

e Black blood imaging and 2D/3D B-FFE for optimal assessment of congenital heart
disease

Capabilities:

Setup and Planning:

ExamCards (Complete automated patient studies including scanning and processing)

PlanScan (Freestyle planning of scan geometries and positions)
-SameScan (Planning for follow up based on anatomical landmarks)

FlexPlan (Planning based on selection of three anatomical landmarks)

AutoSurvey (Rapid acquisition of survey scan)

Repeat Scan (Repeats any archived study)

AutoShim (Regional shim volumes)

Acquisition:

2D (Single-slice, Multiple single-slice and Multi-slice)

3D (Single-stack and Multi-stack)

3D Multi-Chunk (Volume divided into set of contiguous 3D in scans)

Dynamic (Maximum 1024 phases)

Single- and Multi-station (Maximum of 4 stations)

Manual start (Controlled from the gantry or operator's console)

Matrix (Maximum 1024)

Phase matrix (Rectangular FoV, fold over suppression, zero interpolation)

Field of View

Anatomical Imaging:

Spin Echo (Single and multi-echo up to 32 echoes, and asymmetric multi-echo, T2-map
generation)

Inversion Recovery (IR, STIR, FLAIR, Dual IR for fat, fluid and tissue suppression,
Magnitude and Real [mages)

 

 

 

 

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Qty

 

Description Code number

USD

 

 

 

2D/3D TSE (Snapshot, Single and Multi-Shot , Single and Multi-contrast, includes all
IR contrast methods above, DRIVE, Asymmetric encoding, Flip angle Sweep)

2D/3D FFE (with and without RF Spoiling)

2D/3D Balanced-FFE

2D/3D TFE (with and without RF Spoiling, T2 Pre-pulse contrast)
2D/3D Balanced-TFE

3D THRIVE

3D BLISS

3D VISTA

2D EPI (Single Shot, SE and FFE readout types, FLAIR)
Mixed Mode (Interleaved IR/SE for Tl, T2, PD calculation) ©
Turbo factor (maximum 256)

EPI factor (maximum 63)

Angiography:

2D/3D ToF (including Turbo, gating)

PCA (including Turbo, gating and with variable VENC)

TONE optimized RF excitation profile

MOTSA (multi-chunk acquisition)

CHARM (reconstruction minimizes signal anomalies at borders of chunks)
MT (magnetization transfer)

CE-MRA

BolusTrak

MobiTrak automated table motion and image subtraction
CENTRA

TRACS

Diffusion Imaging:

 

 

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Qty Description
2D TSE (Snapshot, FLAIR)

Code number USD

 

 

2D EPI: (Single Shot, SE and FE readout, FLAIR)
Single and multiple b-values up to 16 per scan
Perfusion & BOLD Imaging:

2D EPI: (Single Shot, SE and FE readout)

Cardiac Imaging:

Turbo B-FFE/TFE

Turbo PCA with variable VENC

Breathhold

Single-slice multi-phase

Prospective gating

Retrospective gating (with real-time prospective updating)
Arrhythmia Pro (arrhythmia rejection technique)
InFill (reconstructs intermediate cardiac phases)
Image Acceleration:

SENSE (with fractional acceleration control)
Keyhole (SE, FFE and TFE)

k-Space Shutter (Up to 25% 3D scan time reduction)
HalfScan

Rectangular FoV

Overcontiguous Slices

Prepulses, Saturation and Contrast:

Saturation (REST, Shared REST, Positioned freely or parallel or perpendicular to scan
plane)

Fat Saturation (SPIR, SPAIR)
ProSet (Water/Fat Selection)

 

 

 

 

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1

Qty Description Code number USD
WATS and FATS
Black Blood
Silicon

Magnetization Transfer Contrast (MTC)

Flip Angle Sweep

Motion Correction and Control:

Gating (VCG, Respiratory, PPU)

FlowComp

PEAR (respiratory monitored phase encode ordering)

SMART (optimized temporal data collection and averaging order)
Image Optimization:

CLEAR

PicturePlus

 

Achieva 1.5T coil package NMRA507

 

 

 

 

The SENSE Spine Coil has 10 elements for optimum coverage of the cervical, thoracic
and lumbar spine. The total length covered is sufficient for patients up to 2 meters in
height. The array of elements, which are individually optimized for maximum SNR and
penetration depth, provides excellent image quality. The cervical spine segment of the
coil is comfortably shaped and enables optimal RF penetration. The patient can easily
be positioned on the coil. No patient repositioning between scans is required. This coil
can be combined with the SENSE Flex L Coil for total neuro examinations covering
head and spine.

Features:

e Maximum SENSE factor of 2

© Outside coil dimensions 130 x 540 x 1130 mm
© Weight: 8.5kg

e Compatible with all RF platforms on 1.5T

 

 

 

- 24/36 -

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Qty Description

 

Code number USD

The SENSE Body Coil has 4 coil elements and is optimized to image the organs of the
abdomen, pelvis and chest. It provides detailed imaging of the liver and biliary system,
spleen, kidneys, pancreas, adrenals, mediastinum, pulmonary and abdominal
vasculature and brachial plexus. This flexible design of the coil ensures optimal patient
comfort and image quality.

Features:

 

e Maximum SENSE factor of 4

e Outside coil dimensions 900 x 520 x 480 mm
e =6Weight: 6.5kg

¢ Compatible with all RF platforms on 1.5T

The SENSE Flex M is a general-purpose coil that consists of two flexible elements.
This coil enables a wide variety of applications, including shoulder imaging, pediatric
(e.g. hip and brain), elbow and hippocampus imaging. In shoulder imaging, the unique
coil design allows easy positioning of the arm above the patient's head.

Features:

e Maximum SENSE factor of 2

e Coil element dimensions: 17 cm per element

e Outside coil dimensions 90 x 300 x 650 mm

© §©Weight: 3.5kg

© Compatible with all RF platforms on 1.5T

 

1 SENSE Flex-L coil 1.5T NMRA715

 

 

 

The SENSE Flex L is a general-purpose coil that consists of two flexible elements. The
shape and size of this large flexible coil enable a wide variety of applications including
brain imaging, brachial plexus, pediatric chest and pediatric abdominal imaging, pelvis
imaging, hip imaging and cardiac imaging. This coil can be combined with the SENSE
Spine Coil for total neuro examinations covering head and spine.

Features:

 

e Maximum SENSE factor of 2

 

 

 

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Qty Description Code number USD

 

 

e Inside Coil diameter: 27 cm

© Outside coil dimensions (hxwxd) in mm 90x300x650
© = 6Weight: 3.5kg

¢ Compatible with all RF platforms on 1.5T

 

1 Coil cabinet left NMRA0S51

 

 

This Intera style cabinet (combined with the "coil cabinet right") will store all Intera RF
coils,

This cabinet has space for two large coils (knee or head coil) two flat coils (synergy
spine or synergy cardiac coil) and for miscellaneous wedges.

The cabinet features 4 drawers and a storage area behind two doors. The side of the
cabinet has three storage bins for flexible surface coils.

This coil cabinet has to be assembled on-site.
Features:

¢ — Intera style colors for a perfect match with the system

¢ Storage space for RF coils, wedges, straps, bottles and phantoms.

 

1 Breast imaging support NMRA053

 

 

A positioning mattress to be used with the SENSE Body Coil (1.0T/1.5T). The support
enables bilateral MR Mammography using SENSE. Patient positioning is very easy,
with patient comfort. The result: fast and reliable mammography examinations.

Features:

e Fast MR Mammography using SENSE
e High patient comfort
© Easy patient positioning

 

1 Patient fixation straps NMRA054

 

 

 

 

 

 

This set of straps can be used to immobilize the patient. It consists of different strap

 

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Qty Description

 

Code number USD

types and sizes that will "lock / slide" into the table groove. The straps are compatible

with all coils. The straps are made of nylon which gives a good fixation and are easy to
clean.

 

The package consists of:

e 3 straps, 35 cm

¢ 3 straps, length 70cm

e 3 extension straps

e 4 arm / wrist straps 35 cm

Features:

e Material: nylon

e Color: white

 

1 Coil positioning device NMRAO55

 

 

Separate table-mounted (TMJ) coil positioning stand, featuring integrated headrest and
flexible arms mounted at,each side to support the left and right TMJ coils. Once
positioned coils remain in place without impairing,controlled jaw movement for
kinematic joint studies. Alternatively the stand may be used to position coils other than

TMJ coils. For instance the stand may be used to position the standard 17 cm circular
coil for anterior neck imaging.

 

1 ACCESSORY SET MOBITRAK NMRA762

 

 

The MobiTrak accessory allows positioning of the lower legs and foot in a comfortable
and reproducible fashion. Using this accessory will help reduce patient motion and
improve vessel visualization in peripheral vascular imaging; likewise it might be used
for whole body imaging.

 

1 Power Conditioner unit - 150KVa (200amp 9896 040 14291
peak) with integrated mains monitoring (PDU
MRPT U) for MRI systems

 

 

 

The PDU system is a self contained unit that provides voltage conversion and
distribution, impedance control, high energy fltering, surge suppression and a remote
power monitor. The remote power monitor is a feature which enables the power to be
monitored via a standard web browser, providing a diagnostic tool for power quality

 

 

 

 

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Quotation: DS 2-08 Intera Pulsar 1.5

Version: 1

 

Qty Description

issues.
Input Voltage: 208/220/240/380/408/440/480 VAC 3 Phase Delta (4wire)
Frequency: 50/60Hz

Main Output Voltage:

~ 380/220 VAC-3Phase (5-wire)

- 150 kVA (peak) (200 A/ph) peak, 50 A continuous

Cryo-Cooler Output: 127/220 WYE, 15A continuous

Heat Exchange Output: - 220VAC I-Phase, 1 1A continuous

Weight: 371 Kg .

Dimensions: | 130high x 550width x 520depth (mm)

 

Code number USD

 

 

 

 

 

Special Sale Price: $ 800,000.00

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Quotation: DS 2-08 Intera Pulsar 1.5 Version: |

1 Chapter Optionals

1.0 Chapter: Optionals

Qty Description Code number USD

4 SENSE Flex-S coil 1.5T NMRA717_ $ 17,000.00
Free of
Charge

 

 

The SENSE Flex S is a general-purpose coil consisting of two flexible elements. The
Shape and size of this small flexible coil elements enable a wide variety of applications,
including the carotid arteries, TMJ joint, orbits, pediatric imaging and imaging of small
joints (e.g., elbow, wrist, ankle).

Features:

e Maximum SENSE factor of 2

e Coil element dimensions: |! cm

© Outside coil dimensions 90 x 300 x 650 mm
© Weight: 3.5kg

*® Compatible with all RF platforms on |.5T

 

1 KNEE/FOOT COIL 1.5T 4 NMRA768 $ 18,000.00

Free of
Charge

 

 

 

The Knee/Foot coil has a - 4 elements - phased array design. The coil is designed for
routine imaging of the knee and the foot. The coil consists of different parts: one
posterior section, one anterior section for knee imaging and one anterior section for foot
imaging, including ankle imaging. The coil is positioned on a baseplate and can be
slided in different left/right positions. The coil is easy to operate and provided with
positioning accessories for maximum patient comfort during the examination.

Features:

e Inside diameter is 18cm

e Outside coil dimensions

 

 

 

o Knee part: 260x250x280 mm

 

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Qty Description Code number USD

o Foot part: 340x250x280 mm
© Compatible with all RF platforms on 1.5T

 

 

 

1 8ch SENSE NV coil 1.5T NMRA702 - $35,000.00

Free of
Charge

 

 

The 18 elements in the SENSE Neurovascular Coil are designed around the patient's
head, neck and upper chest areas to offer homogeneous signal in the complete
neurovascular imaging volume, enabling high-resolution imaging of the brain, c-spine,
neck or complete neurovascular area, including MR angiography, spectroscopy and
functional neuro exams. It has outstanding anatomical coverage:

e From root of the aortic arch to top of head

¢ Thoracic region including the brachial plexus

The SENSE Neurovascular Coil has an open top and a large viewing and breathing
space, allowing easy patient access and coil placement and optimal patient comfort.

Features:

® 18 elements distributed with Head 8, Neck 4, Chest 6
¢ Maximum SENSE factor of 8

e Outside coil dimensions 380 x 540 x 690 mm

e =Weight: ISkg

e Compatible with an 8-channel FreeWave platform on 1.5T

 

1 Handheld Metal Detector EB611 9899 000 15009 $ 1,500.00
ree o
Charge

 

 

 

1 Non-Magnetic Wheelchair 9896 040 24291 $ 3,500.00
Free of
Charge

 

 

 

 

 

 

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Philips Medical Systems Netherlands 8.V.
Boschdijk 525, P.O. Box 80014, 5600 JJ Eindhoven, The Nethertands Tel. Exch. Int: +31 40 27 87246
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PHILIPS

Philips Medical Systems Nederland B.V.

 

 

 

 

Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1

Qty Description Code number USD

1 Non-Magnetic Fixed Stretcher 9896 040 24281 $ 3,800.00
Free of
Charge

 

 

 

- All welded anodized Aluminum Frame
- Table top 81 cm from floor (excluding thickness of pad)
- 4"casters with independent braking

 

 

 

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Boschdijk 525, P.O. Box 80014, 5600 JJ Eindhoven, The Netherlands Tel. Exch. Int.: +31 40 27 87246

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PHILIPS

Philips Medical Systems Nederland B.V.

Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1
2 Sales Conditions
l. Payment terms

10% Upon quotation signature
70% Upon shipment receipt in Puerto Rico
20% Upon the first patient clinically scanned

2. Trade terms (DDU)
The above mentioned prices are DDU (Delivered Duties Unpaid) and taxes are not included.
IMPORTANT TAX NOTICE: In order for this sale to be exempt from the 7% Puerto Rico Sales
Tax (IVU), the customer must provide PHILIPS with a Tax Exempt Certificate dated on/or after
August 1, 2007 issued by the “Departamento de Hacienda de Puerto Rico”.

3. Despatch and delivery
Approximately 90 (ninety) days after the order is processed and the down payment agreed upon has
been received by PHILIPS, the goods will be despatched. PHILIPS reserves the right to postpone the
customer requested delivery date, specified in the first page of this quotation, in case there is any delay
in the fulfilment of the site readiness and/or on the payment instrument agreed upon.

4. Installation

The Customer is responsible for room preparation (carpentry, masonry, plumbing, power conditioning,
Surge protection, electrical wiring, X ray protection, etc.). Philips will provide assistance in the
preparation of the room layout to include physical and electrical drawings.

5. Warranty
PHILIPS warrants to the Purchaser the good quality of the goods supplied for the period of 12 (twelve)
months as from the date of acceptance or on which they have been put into use, but in no event for
more than [5 (fifteen) months as from the date of despatch, against defects which appear therein under
proper use, and which arise solely from faulty materials or workmanship. This warranty does not

include any vacuum articles, to which a specified pro rata credit applies. X-Ray Tube Warranty:
150,000 scan sec or 12 months pro-rata temporis.

- 32/36 -

Philips Medical Systems Netherlands B.V.
Boschdijk 525, P.O. Box 80014, 5600 JJ Eindhoven, The Netherlands Tel. Exch. int.: +31 40 27 87246

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PHILIPS

Philips Medical Systems Nederland B.V.

Quotation: DS 2-08 Intera Pulsar 1.5 Version: 1

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Case 3:19-cv-01488-BJM Document 1-1 Filed 05/22/19 Page 34 of 37

PHILIPS

Philips Medical Systems Nederland B.V.

Quotation: DS 2-08 Intera Pulsar 1.5

J Geacr! Terms and Candaices of Sale and Software Liccnse

‘The products ary offered and told bv Philips Medical Svmterns Nedertand B.V, (~Philipa”) only under the terma nd vonditions described
below (“Produce or when referred to in ¢ simgnies mannet “Prodkct')

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Condition of Bake shall prevail uver any conditions pousibly iamsed by the cumtomer, onic cad to the wxient exprenly sisted otherwise
«1 Philips’ quotation,

2Bries

‘The prices as net out in dhe quotation are anchutive of ary applicable wales. cxtise, une. import or CuntuEns duties of other tates in effect
oy later levied. Vober the euctomes provides Philips with an eppropnsie exrmpuon canificaly reasoaably 9 advance of the dase (he
Product us eveilabie for delivery, Philipa chal wavoics (tat customer lor thove taxcy, and the customer shall pay (hoes taaca in acconfance
with the lot of the invoice.

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for Documentary Credits ixsued by the totemnanonal Chamber af Cornmerca, prior to shipment end in (hvoar of Phitipa un the bears uf
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(30) drys for preventetion, The customer thalt pay all bank cburges ouside of The Netherlands. 1f thd cusiorser requests Ghat ubipmoere by
radia other (han the agreed delivery condition. the leter of credis must fe drawn in en amount sutficuend to pey (or any additicenl
shipping com, if anv.

buDsley in Paement Anv delay in paveseres wil jacur legal interest umemedately ax liven the deve dais, If customer fails to pay any
sour when due. Philips may dncocumue the performance of eervices, discontinue the delivery uf the Product(s}, ur deduct the anpazs
smourd from anv amounts aiberwive owed to the cumamer by Philips or any of rts affiliates under any agecemert wth he ctattoener, in
tcklazen 19 any wher nghts or remedies available to Philip Furtbamore Philips, ur its designeied representative, will be allowed,
without notes Jo the verlomer, (0 enter amy premises in which the Prodncu aay be found and render User inoperable or remove ther,
end hold and nail (hem in scoardance with the applicabla Law, tn any action imtinted (0 enforce these Conditions of Sale (ollowing »
Customer detiuh ov otherwtse, Ptalipe call be enditled to secover a2 pert of ita damages all cos and eqpeimes, vochxting reasonable
astomey's fece. in connection with auch action.

eSamelletion If the camomer cencets an order prior to the Product delivery and the customer hes » Segal right 19 de so, the customer
shall pay the coms incurred by Phullps up (u the daze of cancelation iochuding, bul not Iiquted lo, the cents io manufacture the Product,
the costs to provide any trainmg, educational, ow «ther services 10 the customer in commection with ths ander. 1 normal retiocking fee.
aad the costa lo retura ox cancel eny product ordered from » third perty, to other cases of cancellation. the agreed price remains doe and
payable

4 Lesees In the evera the customer detires to convent the purchase of any Product lo s lense, the cistern will arrange for the Lease
agrecrorat and afl other related documentzbon to be reviewed and appmved by Philips not Laser then nunety (V0) avs prior to the date of
the availsbiliy far delivery uf major companems af the Product. The customes 1s rexpernible to convert the trenmsachon to 6 lezse, and is
required to scours the leasmg company’s approval of al] of the terms and contitions in (his quotation withvul modificguon No Product
will be detivered to the custoster unti) Philips bus recerved copies of the (ully execused lease documents end has epproved thet same.

>, Reterven oCoemnersten and defruting payments
‘Without prerodics 10 the passing of make in scoordance with the applicable trade terms as descnbed below, Pratipe shall retain tie to al)

Products until the custonser has fulfilled its payment obligeuona un (Lf, The custome: chell provaie any anueumes 0 Uking any
measores required lo protect Philips’ property nights.

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Uolew athereine sisted in rte quoistion. Phillipe shall deliver any Products FC.4 Philips’ premises ue ary other premascs indicated by
Phulips mi accordanes with the Laest ediuoe uf the Tecotermm issued by the Intereational Chamber af Commences. Shuuld Philips and
Sustomer agros (0 any uther terra holding Philips lisble far the cogs of Innnspurtation andor insurance, env additonal costa. inctucing
tad nes Ienuted 10 conte de lo sermuing andor surcharges which ars the renull of crcuratances of «vers thal are heyond ow reasonable
Control. chal] he for customer's account. Furthermore, cunoaser must provide fill forwarding seurwctions with the order

Philips stall have the right to make changer in the deny ww specifications wf the Products at anv lime, provided thas wich change abel)
fot edvernety aifect the performance of uasd Products

Durmg the validity penod of Philips’ quoution, sams of the Products might become obsolete, to auch a sduvon, Phikps chal)
endeavour (© provide equrraiers replacement Products ot umilar prices but chal) eat be beld rempersibi in case Unere would be no
replaceracn avautabte

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Phubpe hall mabs reasonable efforts to meet any delivery dater quuted ur acknowledged. but shall not be liable for failure 10 mest those
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senpol, wuch as, but net limited to, restos actrihateble (n cusinet, Philips thall be enttled to stare (be Products concerned at the
custumer's etperae and risk, In mch case the warchouse recerpl(s) shall serve 29 subsistute(s) far the sbigpmg documents ia all senpects
and the customer undertakes to ramnbnurse witha fourteen (14) dave of Philips’ find demand any and all additional epenses s0 incurred.

 

The extimated dae of despaich andor completion of the instaligion works, if offered, has fo he calcutated (rom the slate uf the hark’s
advice thet the letter ul’ credit and/or uther paymens inatrument agrerd spon has heen edabllhed in conlormity with ihe Conditives of
‘Sabe, undior the advance payment if epplicable, has been reveeved.

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woke expenae and risk,

18) The proviane vt adequste and lockable storage wm vw near the mstultation sae for the Products in order lo cxrmss protection agaisas

the and any damage or detenorenon. .Anv stem lost of damaged during the siornge period shall he repaured or replaced at the customer's
cost,

4b) The availabilty vn ut caer the installation site uf adoyate and loctabla nwums equipped with sarmtass installations, fre personnel of
Philips of Phutpy representative ind (or the sdurage ul the pereurme!'s tools and umiremenis.

1¢) Tha timely sxeeution and cumpletion uf the prepartions works, in conformity wnth any sequmerpents that Ptuileps shall inaseaie to the
customer in doe time. The site preperation shall be un cnmpliance with all uafetv, clectncal and building codes relevant io tbe Produc.
ace} ibe installation. Sufficcency uf wich plans and specifications, epecificatly inchating, hud not limited to the sccurscy uf the
Mimenasona descnied therein, shall be the sole responsibility of customer, The irnuallsion site chall be made avaitsble to Philips ur
Philips’ ceprewenienve without ubetackes a tue ligne 10 euble Philips ur Philtpe’ reprenematve lo wlan the installers work at he
scheduled date; installation personne! shall not be called upun the inatallaiun site until afl preparatory wark has been. «a the sole upamoa
of Philips, satuvfectonty cvenpleted.

14) The (imety provisos uf the permuts and licermes required bv the petencr’ auihoraies tor of on vonmarction vith thee westallition apd thee
sperziwn of the Prodocts.

Philips Medical Systems Netherlands B.V.
Boschdijk 525, P.O. Box 80014, 5600 JJ Eindhoven, The Netherlands

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Version: 1

{e) The limety provision of all visa, cotry, «Gt, residence, week wt amy other permis necesuary [oe Ptalipe’ ot Phalipa' represertauives
Personne! and for the import end aqpon of tools, equipmem, Products and materuh necessary (or the sataDetioo works and eubsequet
text,

(0) The assistance to Phil of Philign’ representative. with respect to moving tha Product (rom the entrance of the cuskomer’s premises
to the wstallstion uta. The customer shal be responsible, «1 ds expenae, for Pigging, tha removal of partitions «# other obsiactes, and
revtoratien wert. Philipe ansuareen that po hay ardocs material gists at the matellauon ee [Panty wach material exizta, che customer shall
be reaponaible for the proper removal aged disposal of the material 6s the customat’s expanse,

{i case any oF all of the shows condsuons ant net prperty or uty cormplicd with, ur Philips or Philips represenaitive hue to inderruph tha
installation and eubesyurm testing for reasons nat xtirebutable to Phuliga. the period of completion suff be extended accordingly acl amv
sod all scidiional costs cesuhing therefrom shal be (or the customer's accours. Philips NEITHER ASSUMES LIABILITY NOR
OFFERS ANY WARRANTY FOR THE FITNESS UR ADEQUACY OF THE PREMISES OR THE UTILITIES AVAILABLE AT
THE PREMISES IN WHICH THE PROOUCT IS TO BE INSTALLED, USED OR STORED

10.
In case inetaliction uf the Procucts 1s offered. Philips shall notify the rustomer when the Products sestalled will be ready for Lesing ed

scccptmnos, inviting the customer lo extend (he danderd lena we wach Lests 2+ may have been agrind upon mi writing lo demonstrate
curplimnee with tbe agreed specifleations sndror 19 inspect the installation work.

U thw camtomner’s representative (ails 10 attend the testing on ihe date notified, the echnical staff of Philips or us representative will
commence with the (ext socerceng to Philips’ standard tex procedures mad these tests shell be considered performed in tha presence «af!
he camomer’s euepector end anorptance chal) in exch case take plice on the besca of the result mated in the text certificate nigger by ws

Ua case of rejection of tbe Products mazalled for justified rezson, to be submited to Philips in tui! and in writing within ten (10) dave
after corapletion of the acceptance texts concerned, Philips shall as « sole remedy correct the thorioomnings as scon 49 potsible and the
felevard parts of the scorptance lest ahall he repeated wehin » reasonable period of time in cuniormity with the procedures outlined
ebave.

Uf wahia (en (10) dava efler somplation of the scoeptance tes Plilipa shall not have received the sccepuante ceiifleate signed by the
CuBEMeT oF a repart of tejechon [oe justified ressona. ur upen sian of the upcretional use, the Products unslalled shall te considered ax
having heen accepted bry the customer,

Miner defects of devistions not affecting the operational use of the Products installed chall he sixied va the acceptance certificate, beet
shall pot obstruct or susprad accepuince. Philiga undertakes 16 remualy mach defects 29 soon 20 peanble

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‘The exsterner shall notify Philips in wnting and shall asbetectete any complesnts of erronceus despatch and/or apparent duunape to the
Products supplied within ten {10) days after recetpl of the Produca inctading the date and marier of Philips’ invoxe. Philips shall irae.
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Prilipe’ iratroctians, AD Prodacte rvturmed rma by insured and carriage prepaid by customer and packed in tha onging) packing

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Philips proveées Prottuct specific werrantiea with respect 1o the ofTerad Products. e1 net ou in Philips’ quotation, os as annexed hereto th
sbeence uf ay Product spocifie werresty, Philipa wesrarts Uo the vusiomer the good quality of any hardware Products wipplied. [or
Penod of one year as trom the data of ecoeptance ow firm patient use, whichever occurs Ost bul in ne overd for mexa than fifteen (13)

sppileable for replaceess parts, herdwara upgrades. connumubles and other axcheded tears for which spenfic warranty conditions apply
1 indicated, provided for of made acceanble bry Philips.

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pera are nee oF equivalent lo new in performance.

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therenf, of to a reflund of a portion uf the purchase proce paud by the customer, Any reftund will be pad to the custamer when the
defective Product of part is returmad to Pialign. Ady product warraray is made on condition Gat Philips reonves writien notice of a
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Tequesed. the defective Prodects have been returned tu an edna ar location mdicated by Philips Such defective pert shall become
Plalips' property 2s soce a» they have been replaced. Philips’ cbligations under wry product waranty do not apply to any defects
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seecifications und writen instrucuons: (df) shune, negligence, accident. loat:(a) danmge in Wena: (1) improper ule preparauon. (g)
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ther stored data ceused by an external source regerdiew of jis nena. including bid nov limited to hacking (i) \inmes or sovuler software
inserletence cexuking (tom the counecton of tha Product to network. Philips dats nol provide a wisranty fot eny third party products
furnished to (be customer by Philips under tha quctstion; howaver, Philips shall use reasonable ¢fTory to vicend to the curiomer the Uurd
Pasty warranty for such prodict The obtigebors of Philge described above are Philips’ onty ubligatons and Ube cucamer’s sola and
evchnive remedy fur e breach of a Product warranty,

 

‘THE WARRANTIES SET FORTH HEREIN O8 IN PHILIPS” WARRANTY DOCUMENT WITH RESPECT TO A PRODUCT ARE
THE ONLY WARRANTIES MADE DY PHILIPS [N CONNECTION WITH THE PRODUCT, THE SOFTWARE. AND THE
TRANSACTIONS CUNTE MPLATED AS .\ RESULT OF THIS QUOTATION OR SALE, AND ARE EXPRESSLY IN LIEU OF
ANY OTHER WARRANTIES, EXPRESSED UR IMPLIED INCLUDING. WITHOUT LIMITATION, ANY WARRANTY OF
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All voftwase is end chal remain the tole property uf Phillpa ur ua software suppliers The gener) customer soflware htcense conditons
ta! forth below, which fart an insepral pen hereol, contain specilc warrardy errangements wilh respect to anv Licensed Software (43
defined in the Generel Customer Software License Condiviors)

14. Limitation vf biability. The Uability. sf any. uf Ptalipa and Philips’ repreneatatives for damages wtwther arising (rom breach af the
terms in (his yuctaizoa, treach of Contract. warranty. negligence, andemuuty, szict liability or other tart, ar ctbenwise with rexpect to the
Products i limuted to aa ssniourn 16d Lo eoeed the price of the Product giving rims 10 the liability

ER. PHILIPS AND PHILIPS REPRESENTATIVES SHALL IN NO EVENT BE LIAQLE TU THE CUSTUMER FOR
ANY SPECIAL INDIRECT, [NCIDENTAL OR CONSEOVENTIAL DAMAGES OR COVER, OR LUSS OF DATA. PROFIT,
REVENUE OR USE. IN CONNECTION WITH OR ARISING UUT OF THESE CONDITIONS OF SALE OR ANY RESULTING
AGREEMENT. OA THE FUNCTIONING OR THE CUSTOMER'S USE UF, OR INABILITY ‘Tu USE PRODUCTS, INCLUDING
(EMBEDDED) SOFTWARE, OR FUR ANY LIADILITY OF THE CUSTOMER TO ANY THIRD PARTY WITH RESPECT
THERETO. NEITHER PHILIPS NOR PHILIPS SUPPLIERS SHALL BE LIABLE FOR ANY LUSS UF UR INABILITY TU USE
MEDICAL OR UTHER DATA STORED IN GOUDS., INCLUDING (EMBEDDED) SOFTWARE UR UN UTHER MAONETIC
MEDIA, AND NETHER PHILIPS NOR PHILIPS REPRESENTATIVES SHALL BE RESPUNSIBLE FOR RELOADING DATA IN
SUCH EVENT

Ritnltugrmert Claim. 1 a thins perry makes, 0 attempts to make. a clan agamsi the customer alleging thal 3 Philips Product
Selivered hervunder infinges a valid clam under a patent, utibty model, mdustrial design copynght unde secret mash werk, ot
tendemark {collectively “Intellectual Property Right”), Une custenter shall (a) provide Philips prompt uniten notice of the clmm. and (b}
(ask Philips Mull and comple information: and uf Phulips chouses cn wriing to defen, seats ow negotiate the claim customer shall (i)
f1¥6 Philips sole control uf any delence or settiemered that d may underiske and {ir} provide Philips vith all reazonable ausisuance if so
deusred by Philips

Phalips shall have ng ubtiganon Jor any clam vf inftingement and customer shell rewoturse all reasonable coms (including bul nal
lemaed to, aStorerys fees}in vane 3 clean arises truco. (2) Philips’ comphence with the custorner's designs, «pecifications, ut insinuctinns,
(D) Philips” use of techmucal information ur technology supplied by the cuttomer. (¢) mutificeuona to tha Penduct by the custornet or iti
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dameges sought are based dirvetly or indirwetty upon the quantsty of value of products ur services generated by meana uf’ tha Prodkts
purchased under tbe quotation. ur bamed upon the amount of use uf the Product regandlews of whether such clam allepes the Product oe as
ine infringes or cuntnbuie to the infringemera of ich «las.

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Case 3:19-cv-01488-BJM Document 1-1 Filed 05/22/19 Page 35 of 37

PHILIPS

Philips Medical Systems Nederland B.V.

Quotation: DS 2-08 Intera Pulsar 1.5

tn cane (a) & ernappeatehls jurtgment of » cumpetemt count having jarindiction declares the claim to be valid or (b} the Procuct is
believed by Philive to infinge mach » claim, Philips sury, «1 tan option, {i} procore che right for the cosiomer to corlimas to vie the
Prodact. (ii) replace or modify the Product to void inttingament, or (lil) reftad to the cxicionper a renaooable portian of the Prodact
sruchase price upon the return of the original Product,

‘Tes teraz in is section sists Philige’ contre obligation end ability for claims of inftingemect. and the customer's vole remody in the
vera of « claim of infringement, = ‘ .
(5. Ure and cwnership of documenta

All technical information in retatien te the Products and Ghcir rmakstesance are Phi pwopciatary information, covered by Philips
copsrights and remain Philly’ property and sie not be copied, reproduced, vantmitied or commumiceted to of utilized by third parties
without Philips’ pricy written comment. Data such an bot nce [ionited bo cxalogaa, colours, dinensions,

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baler) coh weryromnaieanaed taade eveltahle en (printed) information ara an epprorimation aly and carcass can pet derive eny rights
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16. Espen Cont}

The delivery of any Prodoct may be mitject to the of goverranental Gcemes. bo the event thet ech locuaes or a and-
sue tices are Fergred Pilon wl Coca: the Coanets tencnony J te ¢ i

00 first writen request in case the dotivery of Products becomes rexiricted or Corbichien dha to changed export coirol laws, Philips cay
Seopend or terminata 1 ts option the execution of is obligations under eazy agreement without aacerring any labilay trwards cusixner
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tmemnational boycotts.

UW Sonfidemiatiy, Hach pery shall mastomin os confkdentia) eny information finished or dlsctoned to'coe party by the other party,

whether diaciowed in writing, electronically or dlactened oral, retating to the Prockicty and business of the diacloeing party, ta costomers

sender ita pation, end this quotation ar uals end ita teas, inctuding any pricing infortaxtion. Each party thal] use the eee degres of
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